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                                                  Date 8/31/22            Page     1
                                                  Primary Account   @XXXXXXXXXX@0302



         VIKING INVESTMENTS LLC
         CANDY WILLIAMS
         11423 SPOTTED FAWN LANE
         BIGFORK MT 59911




******************************** CHECKING ACCOUNTS ********************************
          Account Title: VIKING INVESTMENTS LLC
                         CANDY WILLIAMS
TOTALLY FREE BUSINESS CHECKING             Number of Enclosures                   0
Account Number          @XXXXXXXXXX@0302   Statement Dates   8/01/22 thru   8/31/22
Previous Balance                  260.17   Days in the statement period          31
      Deposits/Credits               .00   Average Ledger                    260.17
      Checks/Debits                  .00   Average Collected                 260.17
Service Charge                       .00
Interest Paid                        .00
Ending Balance                    260.17




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                                                  Primary Account   @XXXXXXXXXX@0302



         VIKING INVESTMENTS LLC
         CANDY WILLIAMS
         11423 SPOTTED FAWN LANE
         BIGFORK MT 59911




******************************** CHECKING ACCOUNTS ********************************
          Account Title: VIKING INVESTMENTS LLC
                         CANDY WILLIAMS
TOTALLY FREE BUSINESS CHECKING             Number of Enclosures                  0
Account Number          @XXXXXXXXXX@0302   Statement Dates   9/01/22 thru 10/02/22
Previous Balance                  260.17   Days in the statement period         32
      Deposits/Credits               .00   Average Ledger                   260.17
      Checks/Debits                  .00   Average Collected                260.17
Service Charge                       .00
Interest Paid                        .00
Ending Balance                    260.17




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                                                  Primary Account   @XXXXXXXXXX@0302



         VIKING INVESTMENTS LLC
         CANDY WILLIAMS
         11423 SPOTTED FAWN LANE
         BIGFORK MT 59911




******************************** CHECKING ACCOUNTS ********************************
          Account Title: VIKING INVESTMENTS LLC
                         CANDY WILLIAMS
TOTALLY FREE BUSINESS CHECKING             Number of Enclosures                 0
Account Number          @XXXXXXXXXX@0302   Statement Dates 10/03/22 thru 10/31/22
Previous Balance                  260.17   Days in the statement period        29
      Deposits/Credits               .00   Average Ledger                  260.17
      Checks/Debits                  .00   Average Collected               260.17
Service Charge                       .00
Interest Paid                        .00
Ending Balance                    260.17




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                                                  Primary Account   @XXXXXXXXXX@0302



         VIKING INVESTMENTS LLC
         CANDY WILLIAMS
         11423 SPOTTED FAWN LANE
         BIGFORK MT 59911




******************************** CHECKING ACCOUNTS ********************************
          Account Title: VIKING INVESTMENTS LLC
                         CANDY WILLIAMS
TOTALLY FREE BUSINESS CHECKING             Number of Enclosures                 0
Account Number          @XXXXXXXXXX@0302   Statement Dates 11/01/22 thru 11/30/22
Previous Balance                  260.17   Days in the statement period        30
      Deposits/Credits               .00   Average Ledger                  260.17
      Checks/Debits                  .00   Average Collected               260.17
Service Charge                       .00
Interest Paid                        .00
Ending Balance                    260.17




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                                                  Primary Account   @XXXXXXXXXX@0302



         VIKING INVESTMENTS LLC
         CANDY WILLIAMS
         11423 SPOTTED FAWN LANE
         BIGFORK MT 59911




******************************** CHECKING ACCOUNTS ********************************
          Account Title: VIKING INVESTMENTS LLC
                         CANDY WILLIAMS
TOTALLY FREE BUSINESS CHECKING             Number of Enclosures                 0
Account Number          @XXXXXXXXXX@0302   Statement Dates 12/01/22 thru 12/31/22
Previous Balance                  260.17   Days in the statement period        31
      Deposits/Credits               .00   Average Ledger                  260.17
      Checks/Debits                  .00   Average Collected               260.17
Service Charge                       .00
Interest Paid                        .00
Ending Balance                    260.17




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                                                  Date 1/31/23            Page     1
                                                  Primary Account   @XXXXXXXXXX@0302



         VIKING INVESTMENTS LLC
         CANDY WILLIAMS
         11423 SPOTTED FAWN LANE
         BIGFORK MT 59911




******************************** CHECKING ACCOUNTS ********************************
          Account Title: VIKING INVESTMENTS LLC
                         CANDY WILLIAMS
TOTALLY FREE BUSINESS CHECKING             Number of Enclosures                   0
Account Number          @XXXXXXXXXX@0302   Statement Dates   1/01/23 thru   1/31/23
Previous Balance                  260.17   Days in the statement period          31
      Deposits/Credits               .00   Average Ledger                    260.17
      Checks/Debits                  .00   Average Collected                 260.17
Service Charge                       .00
Interest Paid                        .00
Ending Balance                    260.17




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                                                  Primary Account   @XXXXXXXXXX@0302



         VIKING INVESTMENTS LLC
         CANDY WILLIAMS
         11423 SPOTTED FAWN LANE
         BIGFORK MT 59911




******************************** CHECKING ACCOUNTS ********************************
          Account Title: VIKING INVESTMENTS LLC
                         CANDY WILLIAMS
TOTALLY FREE BUSINESS CHECKING             Number of Enclosures                   0
Account Number          @XXXXXXXXXX@0302   Statement Dates   2/01/23 thru   2/28/23
Previous Balance                  260.17   Days in the statement period          28
      Deposits/Credits               .00   Average Ledger                    260.17
      Checks/Debits                  .00   Average Collected                 260.17
Service Charge                       .00
Interest Paid                        .00
Ending Balance                    260.17




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                                                  Primary Account   @XXXXXXXXXX@0302



         VIKING INVESTMENTS LLC
         CANDY WILLIAMS
         11423 SPOTTED FAWN LANE
         BIGFORK MT 59911




******************************** CHECKING ACCOUNTS ********************************
          Account Title: VIKING INVESTMENTS LLC
                         CANDY WILLIAMS
TOTALLY FREE BUSINESS CHECKING             Number of Enclosures                   0
Account Number          @XXXXXXXXXX@0302   Statement Dates   3/01/23 thru   4/02/23
Previous Balance                  260.17   Days in the statement period          33
      Deposits/Credits               .00   Average Ledger                    222.74
    2 Checks/Debits                60.00   Average Collected                 222.74
Service Charge                       .00
Interest Paid                        .00
Ending Balance                    200.17

------------------------------- Activity in Date Order ----------------------------
Date Description                        Withdrawals     Deposits          Balance
 3/13 DBT CRD 1213 03/12/23 50858744         35.00-          .00           225.17
          SQ *GO FIGURE KALISPEL
          KALISPELL    MT C# 2883
 3/14 Flathead Electri WEB PMTS              25.00-          .00            200.17
          CCD     W4817L
          111924688167752




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                                                  Primary Account   @XXXXXXXXXX@0302



         VIKING INVESTMENTS LLC
         CANDY WILLIAMS
         11423 SPOTTED FAWN LANE
         BIGFORK MT 59911




******************************** CHECKING ACCOUNTS ********************************
          Account Title: VIKING INVESTMENTS LLC
                         CANDY WILLIAMS
TOTALLY FREE BUSINESS CHECKING             Number of Enclosures                   2
Account Number          @XXXXXXXXXX@0302   Statement Dates   4/03/23 thru   4/30/23
Previous Balance                  200.17   Days in the statement period          28
    2 Deposits/Credits            135.47   Average Ledger                    287.64
    1 Checks/Debits                20.00   Average Collected                 287.64
Service Charge                       .00
Interest Paid                        .00
Ending Balance                    315.64

------------------------------- Activity in Date Order ----------------------------
Date Description                        Withdrawals     Deposits          Balance
 4/11 Remote Deposit                           .00         65.47           265.64
 4/11 Remote Deposit                           .00         70.00           335.64
 4/18 DBT CRD 1041 04/17/23 64316917         20.00-          .00           315.64
          MONTANA SECRETARY STAT
          406-4443665   MT C# 2883




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                                                  Primary Account   @XXXXXXXXXX@0302



         VIKING INVESTMENTS LLC
         CANDY WILLIAMS
         11423 SPOTTED FAWN LANE
         BIGFORK MT 59911




******************************** CHECKING ACCOUNTS ********************************
          Account Title: VIKING INVESTMENTS LLC
                         CANDY WILLIAMS
TOTALLY FREE BUSINESS CHECKING             Number of Enclosures                   0
Account Number          @XXXXXXXXXX@0302   Statement Dates   5/01/23 thru   5/31/23
Previous Balance                  315.64   Days in the statement period          31
      Deposits/Credits               .00   Average Ledger                    167.25
    1 Checks/Debits               200.00   Average Collected                 167.25
Service Charge                       .00
Interest Paid                        .00
Ending Balance                    115.64

------------------------------- Activity in Date Order ----------------------------
Date Description                        Withdrawals     Deposits          Balance
 5/09 Transf to TOT FREE        0002        200.00-          .00           115.64
          Confirmation number 509236108




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                                                  Primary Account   @XXXXXXXXXX@0302



         VIKING INVESTMENTS LLC
         CANDY WILLIAMS
         11423 SPOTTED FAWN LANE
         BIGFORK MT 59911




******************************** CHECKING ACCOUNTS ********************************
          Account Title: VIKING INVESTMENTS LLC
                         CANDY WILLIAMS
TOTALLY FREE BUSINESS CHECKING             Number of Enclosures                   1
Account Number          @XXXXXXXXXX@0302   Statement Dates   6/01/23 thru   7/02/23
Previous Balance                  115.64   Days in the statement period          32
    1 Deposits/Credits             15.00   Average Ledger                    121.26
      Checks/Debits                  .00   Average Collected                 121.26
Service Charge                       .00
Interest Paid                        .00
Ending Balance                    130.64

------------------------------- Activity in Date Order ----------------------------
Date Description                        Withdrawals     Deposits          Balance
 6/21 Remote Deposit                           .00         15.00           130.64




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                                                  Primary Account   @XXXXXXXXXX@0302



         VIKING INVESTMENTS LLC
         CANDY WILLIAMS
         11423 SPOTTED FAWN LANE
         BIGFORK MT 59911




******************************** CHECKING ACCOUNTS ********************************
          Account Title: VIKING INVESTMENTS LLC
                         CANDY WILLIAMS
TOTALLY FREE BUSINESS CHECKING             Number of Enclosures                   1
Account Number          @XXXXXXXXXX@0302   Statement Dates   7/03/23 thru   7/31/23
Previous Balance                  130.64   Days in the statement period          29
    1 Deposits/Credits          1,250.00   Average Ledger                    294.43
    1 Checks/Debits             1,000.00   Average Collected                 294.43
Service Charge                       .00
Interest Paid                        .00
Ending Balance                    380.64

------------------------------- Activity in Date Order ----------------------------
Date Description                        Withdrawals     Deposits          Balance
 7/17 Remote Deposit                           .00      1,250.00         1,380.64
 7/18 Transf to TOT FREE        0002      1,000.00-          .00           380.64
          Confirmation number 718232893




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                                                  Primary Account   @XXXXXXXXXX@0302



         VIKING INVESTMENTS LLC
         CANDY WILLIAMS
         11423 SPOTTED FAWN LANE
         BIGFORK MT 59911




******************************** CHECKING ACCOUNTS ********************************
          Account Title: VIKING INVESTMENTS LLC
                         CANDY WILLIAMS
TOTALLY FREE BUSINESS CHECKING             Number of Enclosures                   1
Account Number          @XXXXXXXXXX@0302   Statement Dates   8/01/23 thru   8/31/23
Previous Balance                  380.64   Days in the statement period          31
    1 Deposits/Credits            147.85   Average Ledger                    490.33
      Checks/Debits                  .00   Average Collected                 490.33
Service Charge                       .00
Interest Paid                        .00
Ending Balance                    528.49

------------------------------- Activity in Date Order ----------------------------
Date Description                        Withdrawals     Deposits          Balance
 8/09 Remote Deposit                           .00        147.85           528.49




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